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                     UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

In Re:                                              Chapter 7

James Edward Robinson and Carolyn                   Case No. 14-60091-MHM
Flemming Robinson,

                            Debtors.


Nationstar Mortgage LLC,
                            Creditor,
                                                    Contested Matter
V.

James Edward Robinson and Carolyn
Flemming Robinson, Debtors, and
William J. Layng, Jr., Chapter 7 Trustee,

                            Respondents.

                     NOTICE OF ASSIGNMENT OF HEARING

PLEASE TAKE NOTICE that Nationstar Mortgage LLC, for itself, its successors and

assigns, has filed a Motion for Relief from Stay and related papers with the Court seeking

an order granting relief from the automatic stay.

PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion

for Relief from Stay in, Room 1204, United States Bankruptcy Courthouse, 75 Spring

Street, Atlanta, GA 30303-3311 at 2:15 pm on the 10th day of March, 2015. Your

rights may be affected by the Court's ruling on these pleadings. You should read these

papers carefully and discuss them with your attorney, if you have one in this bankruptcy

case. (If you do not have an attorney, you may wish to consult one.) If you do not want

the Court to grant the relief sought in these pleadings, or if you want the Court to
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consider your views, then you and/or your attorney must attend the hearing. You may

file a written response to the pleading with the Clerk at the address stated below, but you

are not required to do so. If you file a written response, you must attach a certificate

stating when, how and on whom (including addresses) you served the response. Mail or

deliver your response so that it is received by the Clerk at least two business days before

the hearing. The address for the Clerk's Office is: United States Bankruptcy Court,

Richard B. Russell Federal Building, 75 Spring Street, SW, Room 1340, Atlanta, GA

30303. You must also mail a copy of your response to the undersigned at the address

stated below.

In the event a hearing cannot be held within thirty (30) days from the filing of said

Motion, as required by 11 U.S.C. Section 362, Creditor, by and through counsel, waives

this requirement and agrees to the next earliest possible date, as evidenced by the

signature below. If a final decision is not rendered by the Court within sixty (60) days of

the date of the request, Creditor waives the requirement that a final decision be issued

within that period.
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The undersigned consents to the automatic stay remaining in effect with respect to

Creditor until the court orders otherwise.


Dated: ______________________
        February 9, 2015
                                             Shapiro, Swertfeger & Hasty, LLP



                                             ___________________________
                                              /s/ Taylor Mansell
                                             Taylor Mansell
                                             Georgia Bar No. 940461
                                             tmansell@logs.com
                                             2872 Woodcock Blvd.
                                             Suite 100
                                             Atlanta, GA 30341-3941
                                             (770) 220-2535
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                      UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

In Re:                                             Chapter 7

James Edward Robinson and Carolyn                  Case No. 14-60091-MHM
Flemming Robinson,

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V.

James Edward Robinson and Carolyn
Flemming Robinson, Debtors, and
William J. Layng, Jr., Chapter 7 Trustee,

                             Respondents.

                     MOTION FOR RELIEF FROM STAY ,
              WAIVER OF HEARING PURSUANT TO 11 U.S.C. § 362(e)
                AND REQUEST FOR WAIVER OF RULE 4001(a)(3)


         COMES NOW Nationstar Mortgage LLC, for itself, its successors and assigns

(hereinafter known as “Movant”), and shows this Court the following:

                                              1.

         This is a Motion under Section 362(d) of the Bankruptcy Code for relief from the

automatic stay for all purposes allowed by law and the contract, including, but not limited

to, the right to foreclosure on certain real property.
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                                           2.

       Movant is the holder or servicer of a loan secured by certain real property in which

the Debtor(s) have an interest. A copy of the Security Deed and assignments (if

applicable) are attached hereto and made a part hereof. Said real property is security for

a Promissory Note, and is commonly known as 2216 Park Manor Lane, Snellville,

Georgia 30078. A copy of the Note is attached hereto and made part hereof.



                                           3.

       There has been a default in payment of the monthly installments required pursuant

to the Promissory Note. As of February 2, 2015, nine (9) payment(s) have been missed.

                                           4.

       As of February 2, 2015, the unpaid principal balance is $248,589.67, and interest

is due in accordance with the agreement.

                                           5.

       Because there may be little or no value in the property over the amount owed on

the property, Movant is not adequately protected and there is cause for relief from the

automatic stay.

                                           6.

       Because there may be little or no equity in the property which could benefit the

estate, the Trustee’s interest should be abandoned.
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                                             7.

       Because the Security Deed so provides, Debtor is responsible for Movant’s

reasonable attorney fees.

                                             8.

       Movant shows that the provisions of Bankruptcy Rule 4001(a)(3) should be

waived.

                                             9.

       Movant requests it be permitted to contact the Debtor via telephone or written

correspondence regarding potential loss mitigation options, including, but not limited to,

loan modifications, deeds in lieu of foreclosure, short sales, and/or any other potential

loan workouts or loss mitigation agreements.

                                             10.

       If the Debtor(s) are interested in initiating review for loss mitigation then the

Movant can be contacted at the following:

                                    Nationstar Mortgage LLC
                                    Loan Modifications
                                    P.O Box 619097
                                    Dallas, TX 75261-9741
                                    1-877-343-5602

                                             11.

       Attached are redacted copies of any documents that support the claim, such as

promissory notes, purchase order, invoices, itemized statements of running accounts,

contracts, judgments, mortgages, and security agreements in support of right to seek a lift

of the automatic stay and foreclose if necessary.
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       WHEREFORE, Movant prays as follows:

       (a)    That this Court issue an Order terminating the Automatic Stay with respect

to the above-referenced property effective as of the date of the hearing; including, but not

limited to, foreclosure of the property, gaining possession of the property and seeking to

judicially confirm the sale, if appropriate.

       (b)    That this Court authorize Movant to foreclose its security interest in said

property in accordance with any applicable law as of the date this Court orders

termination of the stay without further order of this Court;

       (c)    That Movant be awarded reasonable attorney's fees and expenses.

       (d)    That Movant, at its option, be permitted to contact the Debtor via telephone

or written correspondence regarding potential loss mitigation options, including, but not

limited to, loan modifications, deeds in lieu of foreclosure, short sales, and/or any other

potential loan workouts or loss mitigation agreements.

       (e)    That the Court order that Federal Rule of Bankruptcy Procedure 4001(a)(3)

is not applicable so that Movant may immediately enforce and implement an order

granting relief from the automatic stay;
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         (f) That Movant have such other and further relief as this Court deems just and

equitable.




Dated:    February 9, 2015




                                              Shapiro, Swertfeger & Hasty, LLP



                                              ___________________________
                                               /s/ Taylor Mansell
                                              Taylor Mansell
                                              Georgia Bar No. 940461
                                              tmansell@logs.com
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                                              Suite 100
                                              Atlanta, GA 30341-3941
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                     UNITED STATES BANKRUPTCY COURT
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                                                Contested Matter
V.

James Edward Robinson and Carolyn
Flemming Robinson, Debtors, and
William J. Layng, Jr., Chapter 7 Trustee,

                           Respondents.

                            CERTIFICATE OF SERVICE

       This is to certify that on the 9th      day of February, 2015, I served a copy of
the within Notice of Assignment of Hearing, together with a copy of the Motion for
Relief from Stay filed in this bankruptcy proceeding, on the Respondents by first-class
mail addressed as follows:


             James Edward Robinson
             2216 Park Manor Lane
             Snellville, GA 30078

             Carolyn Flemming Robinson
             2216 Park Manor Lane
             Snellville, GA 30078

             Brian S. Limbocker
             Limbocker Law Firm, LLC
             Bldg. 800 - Suite 140
             2230 Towne Lake Parkway
             Woodstock, GA 30189
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            William J. Layng, Jr.
            Suite 1500
            400 Galleria Parkway
            Atlanta, GA 30339


                                      Shapiro, Swertfeger & Hasty, LLP



                                      ___________________________
                                       /s/ Taylor Mansell
                                      Taylor Mansell
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